Case 2:18-CV-1534O-W.]|\/|-|\/|F Document 1 Filed 10/26/18 Page 1 of 13 Page|D: 1

JS 44 (Rev. 06/17)

CIVIL COVER SHEET

The ._IS 44 civil cover sheet and the information contained herein neither replace nor supplement the filin§ and service of pleadings or other papers as re uired by law, except as
provided by local rules of court Thls form, approved by the Judicial Con erence of the nited States in eptember 1974, is required for the use of the lerk of Court for the
purpose of mmatmg the civil docket sheet. (SEE le'rRUCTloNS 0N NEXT PAGE 0F THls FORM.)

I- (a) PLAINTIFFS ALLAN FRlEDMAN DEFENDANTS; PREST|GE MoToRS, lNC, d/b/a MERCEDES
BENz oF PARAMus, LlTHlA MoToRs, lNc, d/b/a MERCEDES
BENZ oF PARAMuS and MERCEDES BENz FlNANclAL sEvacEs

llr\l\llr\

County of Residence of First Listed Defendant
aN U.S. PLAINTIFF CASES ONLY)

lN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(b) County ofResidence of First Listed Plaintiff
(EXCEPT 1N us PLA!NTlFF cAsEs)
NOTEZ

(C) AttOmeyS (Firm Name, Address, and Telephane Numbelj AthITleS (lmeJ\l'H)

JOHN C. UYAMADU L.L.C., 2 R|DGEDALE AVENUE, SU|TE 355
CEDAR KNOLLS, NEW JERSEY 07927; PHONE: (855) 722-5110

 

 

 

 

 

 

 

 

 

 

 

 

 

 

II. BASIS OF JURISDICTION (Place an “X" in Om.' Box On[y) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in 0ne Boxj?)r Plaimi/Y`
(Far Diversity Cases Only) and 0ne Boxfor Defendam)
|:l 1 U.S. Govemment 5 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Governmenl Nor a Par!y) Citizen of This State Cl 1 111 1 Incorporated or Principal Place Cl 4 lj 4
of Business In This State
Cl 2 U.S. Govemment Cl 4 Diversity Citizen ofAnother State CJ 2 0 2 Incorporated and Principa.l Place El 5 Cl 5
Defendant (Indicale Cilizenship of Farlies in Ilem ]II) of Business In Another Sta!e
Citizen or Subject of a D 3 Cl 3 Foreign Nation El 6 |:I 6
Foreign Counn'y
IV. NATURE OF SUIT (Place an “X" in One Bax Only) Click here for: Nature 01`Suit Code Descri tions.
l CONTRACT TORTS FORFE!TURE/PENALTY BANKRUPTCY OTHER STATUTES l
g 110 lnsurance PERSONAL lNJURY PERSONAL lNJURY CI 625 Drug Related Seizure g 422 Appeal 28 USC 158 Cl 375 False Claims Act
Cl 120 Man`ne Cl 310 Airplane IJ 365 Personal Injury - of Propeny 21 USC 881 Cl 423 Withdrawal Cl 376 Qui Tam (31 USC
Cl 130 Miller Act D 315 Airplane Product Product Liability Cl 690 Other 28 USC 157 3729(a))
CI 140 Negotiable Instrument Liability 13 367 Health Care/ Cl 400 State Reapporrionmem
D 150 Recovery of Overpayment Cl 320 Assault, Libel & Pharmaceutical PRQPERTY Rl§§l-l'l'§ C| 410 Antitrust
& Enforcement cf.ludgment Sla.nder Personal Injury Cl 820 Copyn'ghts Cl 430 Banks a.nd Banking
[j 151 Medicaxe Act Cl 330 Federal Employers’ Product Liability 13 830 Patent Cl 450 Commerce
Cl 152 Recovery of Defaulted Liability ij 368 Asbestos Personal El 835 Patent - Abbreviated D 460 Deportation
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(Excludes Veterans) 13 345 Marine Product Liability Cl 840 Trademark Comxpt Organizations
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of Veteran's Benefits EI 350 Motor Vehicle El 370 Other Fraud D 710 Fair Labor Standards 13 861 HIA (13951¥) 13 490 Cable/Sat TV
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111 190 Other Contract Product Liability C| 380 Other Personal El 720 Labor/Ma.nagement Cl 863 DIWC/DIWW (405(g)) Exchange
111 195 Contract Product Liability |:l 360 Other Personal Property Da.mage Relations Cl 864 SSID Title XVI [X 890 Ot.her Statutory Actions
l:l 196 Franchise Injury D 385 Property Damage g 740 Railway Labor Act Cl 865 RSI (405(g)) U 891 Agn'cultural Acts
|:1 362 Personal Injury - Product Liability Cl 751 Family and Medical 13 893 Environmental Matters
Medical Malpractice Leave Act El 895 Freedom oflnfonnation
l REAL PROPER'I'Y CIVIL RlGHTS PRISONER PETITIONS C| 790 Other Labor Litigation FEDERAL TAX SUTI`S Act
Cl 210 Land Condemnation D 440 Other Civil Rights Habeas Corpus: Cl 791 Employee Retirement CI 870 Taxes (U.S. Plaintiff Cl 896 Arbitration
1'_'1 220 Foreclosure Cl 441 Voting D 463 Alien Detainee Income Security Act or Defendant) 13 899 Administrative Procedure
13 230 Rent Lease & Ejectment Cl 442 Employment Cl 510 Motions to Vacate El 871 IRS--Third Paxty Act/Review or Appeal of
Cl 240 Torts to La.nd Cl 443 Housing/ Sentence 26 USC 7609 Agency Decision
ij 245 'I`ort Product Liability Accommodations D 530 General Cl 950 Constitutionality of
13 290 All Other Real Property Cl 445 Amer. w/Disabilities - CI 535 Death Penalxy IMMIGRATION State Statutes
Employment Other: |:l 462 Naturalization Application
13 446 Amer. w/Disabilities - EJ 540 Mandamus & Other Cl 465 Other Immigration
Other Cl 550 Civil Rights Actions
Cl 448 Education D 555 Prison Condition
Cl 560 Civil Detainee -
Conditions of
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V. ORIGlN (Place an “X" in One Bvx Only)

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VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under Which you are ming (Da nat cirejuris¢ll`c!ional staluies unless diversl'ty)l
15 U.S.C. SeC 2301, 49 U.S.C. SeC 32710(1`))‘ 28 U.S.C. SSC 1331 and 28 U.S.C. SEC 1332

Brief description ofcause:
VlOLATlON OF FED. ODOMETER ACT, MAGNUSON-MOSS WARRANTY ACT & CONSUMER FRAUD ACT

 

 

 

 

 

 

VII. REQUESTED IN El CHECK IF THIS IS A CLAss ACTlON DEMAND $ CHECK YES Only if demanded in Complainf1
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: 0 Yes MN<>

VlII. RELATED CASE(S) k k
lF ANY (See '"S'm"o"s)" JUDGE DOCKET NUMBER

DATE SIGNATURE 01-` A'ITORNE¥ OF RECORD

10/24/2018 /s/ John C. Ujamadu

FOR OFFlCE USE ONLY

RECEIPT # AMOUN'I` APPLYING IFP JUDGE MAG. JUDGE

Case 2:18-cv-15340-W.]|\/|-|\/|F Document 1 Filed 10/26/18 Page 2 of 13 Page|D: 2

UNlTED STATES DISTR|CT COURT
DlSTRlCT OF NEW JERSEY

ALLAN FR|EDMAN, C|VlL ACT|ON NO.:
P|aintiff

V.

PREST|GE MOTORS, lNC. dlbla f
MERCEDES BENZ OF PARAMUS, LlTHlA : BENCH TRIAL DEMANDED
MOTORS, lNC. dlbla MERCEDES BENZ '
OF PARAMUS and f
MERCEDES BENZ FINANC|AL SERV|CES f

USA LLC,
Defendants
COMPLA|NT
|. |NTRODUCT|ON
1. This is an action brought by a consumer against an automobile dealership

for violations of the Federa| Odometer Act, breach of the implied warranty of
merchantability under the l\/lagnuson-l\/loss Warranty Act (“MlVlW ”), 15 U.S.C. §§ 2301
et seq. P|aintiff also asserts pendent state law claims for breach of express Warranty
and violations of the New Jersey Consumer Fraud Act (“CFA”), NM §§ 56:8-1 et
seq. Claims are also asserted against the finance company as assignee of the operative

retail installment sales contract

||. PART|ES
2. P|aintiff, Allan Friedman (“P|aintiff”), is a consumer and natural person

residing in Stamford, Connecticut.

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3. Defendant Prestige Motors, lnc. d/b/a l\/lercedes Benz of Paramus
(“Prestige”) is a New Jersey corporation located in Paramus, New Jersey that operated
a Mercedes Benz dealership in Paramus, NeW Jersey (“lVlB Paramus”).

4. Defendant Lithia Motors, lnc. d/b/a l\/lercedes Benz of Paramus (“Lithia”) is
an Oregon corporation that currently operates MB Paramus.

5. Defendant Mercedes Benz Financial Services USA, LLC (“lVlBFS”) is a

limited liability company located in Farmington Hi|ls, lVlichigan.

l||. JUR|SD|CT|ON

6. This Court has subject matterjurisdiction pursuant to 49 U.S.C. §
32710(b) and 28 U.S.C. § 1331. Jurisdiction is also proper pursuant to 28 U.S.C. §
1332, because the total cash price of the Vehicle Was in excess of $75,000 and
substantial statutory and punitive damages are sought. Supplemental jurisdiction exists
for the state law claims also exists pursuant to 28 U.S.C. § 1367.

7. This Court has jurisdiction over all defendants, because they regularly
conduct or conducted business in New Jersey and the transaction at issue occurred in
this state.

8. Venue in this Court is proper, because the transaction occurred in this
state.

|V. FACTUAL ALLEGAT|ONS

9. On and before January 31, 2018, Prestige operated lVlB Paramus, a

|Vlercedes Benz automobile dealership, as “Mercedes Benz of Paramus”.

10. Between January 31, 2018 and the filing of this lawsuit, Prestige sold lVlB

Paramus to Lithia.

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11. Lithia continues to operate lVlB Paramus under the name “l\/lercedes Benz
of Paramus” in the same location, continues to utilize the same website, the same
phone number, utilizes the same mark and marketing identity, and employs many or all
of the same employees as employed at l\/lB Paramus as Prestige.

12. Lithia relies upon the goodwill established by Prestige, and its operation of
lVlB Paramus and its marketing projection of lVlB Paramus to consumers is
indistinguishable from that of Prestige to Lithia.

13. Lithia is a successor in interest to MB Paramus to Prestige

14. On or before January 31, 2018, P|aintiff visited lVlB Paramus because he
was interested in purchasing a vehicle for personal use.

15. Specifically, P|aintiff was interested in a 2015 Mercedes Benz E63 AlVlG
(the “Vehicle”) in MB Paramus’ inventory.

16. P|aintiff was interested in purchasing that specific model Mercedes Benz,
because it is a rare, high performance vehic|e, and was willing to travel to New Jersey
from his home in Connecticut to purchase it.

17. The Vehicle was marketed by Prestige and was warranted to be a
Mercedes Certified Pre-Owned Vehicle (“CPO”).

18. Mercedes CPO vehicles are described as passing a “rigorous” 164-point
inspection and must meet a “stringent criteria”.

19. Mercedes Dealerships, including MB Paramus, charge a premium on
vehicles with the CPO designation.

20. P|aintiff agreed to purchase the Vehicle for a total cash price of

$75,311.12.

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21. P|aintiff paid an $11,978.36 down payment in the form of cash and the net
allowance from a trade-in vehicle, and he financed the remainder pursuant to a retail
installment sales contract (the “Contract”).

22. The Contract was subsequently assigned to lVlBFS.

23. lVlB Paramus provided a written disclosure to P|aintiff at the time of the
sale that the mileage reading on the Vehicle’s odometer was 15,231 miles and that, to
the best of its knowledge, the reading represented the true mileage of the Vehicle. A
true copy of the written odometer statement (the “Odometer Statement”) that was
provided to P|aintiff is attached as Ex. A.

24. The actual odometer reading at the time of sale was approximately 15,231
miles.

25. Subsequent to the sale of the Vehicle, l\/lB Paramus submitted
documentation to the Connecticut Department of l\/lotor Vehicles (“CT DMV”) for
purposes of registering and titling the Vehicle to the Plaintiff.

26. ln the documents submitted to CT DMV, MB Paramus stated that the
Vehicle’s odometer reading was 24,347 miles.

27. One of the documents provided by lVlB Paramus to the CT DMV was an
altered copy of the Odometer Statement (the “Forged Odometer Statement”) in which it
had crossed out the mileage disclosure of 15,231 and wrote “24,347” and the initials
“AF” (the P|aintiff’s initials) above that alteration. A copy of the Forged Odometer
Statement is attached as Exhibit B.

28. Based upon the information provided to it by MB Paramus, the CT DMV

issued a title that showed mileage of 24,347.

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29. Approximately two and a half months later, on or about April 30, 2018,
P|aintiff had the Vehicle serviced by Mercedes Benz of Greenwich in Greenwich, CT.
The odometer reading at the time of the servicing was approximately was approximately
17,292 miles.

30. Both the CT DMV title and registration transaction and the Mercedes Benz
of Greenwich servicing were reported to Carfax and possibly other services

31. Consequently, Carfax reports a mileage inconsistence on the Vehicle,
because the Vehicle had reported mileage of 24,347 as of February 13, 2018 and a
lower reading of 17,292 miles as of April 30, 2018.

32. As a result of lVlB Paramus’ fraudulent submission to the CT DMV, and
consequently CarFax, CarFax now reports that the Vehicle has an odometer
discrepancy.

33. As a result of the reported odometer discrepancy, the Vehicle is now
considered “true mileage unknown”, resulting in a severe diminution of value.

34. At the time of delivery, the Vehicle had inadequately repaired body
damage and had four damaged rims.

35. The aforedescribed defects relating to the odometer discrepancy, body
damage and rims should have disqualified the vehicle from being certified as a
Mercedes CPO. Specifically, A true mileage unknown vehicle is not permitted for
consideration as a CPO.

36. The CPO checklist contains the following points pass inspection for CPO
certification: point 116 requires that the wheels and drivetrain are free from vibration and

noise, and points 141-152 require that the exterior of the car also pass inspection.

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37. These defects would have been apparent to an automotive technician
undertaking the Mercedes CPO inspection.

38. P|aintiff had agreed to purchase the Vehicle and accepted delivery
unaware of its defects.

V. CAUSES OF ACT|ON
A. COUNT ONE - FEDERAL ODOMETER ACT

39. With the intent to defraud, MB Paramus made false statements regarding
the CT DMV regarding the Vehicle’s mileage reading.

40. The intent to defraud may be inferred by the preparation of the Forged
Odometer disclosure. l\/lB Paramus knew that it had disclosed different mileage to the
P|aintiff and prepared a forged instrument in order to defraud the CT DMV, the public,
and the P|aintiff regarding the Vehicle’s true mileage, the prior mileage disclosures, or
both.

41. P|aintiff has standing under the Federal OdometerAct to bring suit for
fraudulent statement made to the CT DlVlV.

42. Prestige is liable to P|aintiff for treble his damages or $10,000, whichever
is greater, and attorney’s fees and costs.

43. Lithia is liable to P|aintiff for treble damages or $10,000, whichever is
greater, and attorney’s fees and costs.

44. lVlBFS is liable to P|aintiff for treble damages or $10,000, whichever is

greater, and attorney’s fees and costs as assignee of the Contract.

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B. COUNT TWO - BREACH OF THE lMPLlED WARRANTY OF
MERCHANTAB|L|TY

45. A warranty that the Vehicle was in merchantable condition was implied by
the contract by operation of N_M § 12A:2A-314.

46. Prestige and Lithia breached the implied warranty of merchantability,
because the Vehicle would not pass in trade without objection, was not fit for the
purposes that motor vehicles are ordinarily used, or both.

47. The Vehicle would not pass in trade without objection as a true mileage
unknown vehicle.

48. The Vehicle would not pass in trade without objection as a CPO vehicle
due its true mileage being unknown, and its damaged body and damaged rims.

49. P|aintiff has provided Prestige and Lithia a reasonable opportunity to cure
their breaches of implied warranty, but they have failed to do so.

50. Specifically, prior to asserting this action, P|aintiff demanded that they
cause the CT DMV to issue a new title and that it cause Carfax to correct the recording,
but they failed or refused to do so or they are not able to do so.

51. Prestige and Lithia are liable to P|aintiff for his damages, attorney’s fees,
and costs under MMWA.

52. NIBFS is liable to P|aintiff for his damages, including common law punitive
damages, and attorney’s fees and costs under MMWA as assignee of the Contract.

53. Plaintiff seeks, as an equitable remedy under MMWA an order that the
defendants repurchase the Vehicle for the total cash price paid.

54. The total amount claimed under this count is in excess of $50,000.

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C. COUNT THREE - BREACH OF EXPRESS WARRANTY

55. MB Paramus’ statements regarding the condition and history of the
Vehicle constituted an express warranty pursuant to M § 12A:2A-313.
Specifically, lVlB Paramus told P|aintiff that the Vehicle’s mileage was 15,231 and was
eligible for CPO certification.

56. Prestige and Lithia breached the express warranty because the Vehicle
was a true mileage unknown vehicle and not eligible for CPO certification.

57. Prestige and Lithia are liable to P|aintiff for his damages, including
common law punitive damages, plus attorney’s fees and costs under the MMWA, 15
U.S.C. § 2310(d).

58. |VlBFS is liable to P|aintiff for his damages, including common law punitive

damages, plus attorney’s fees and costs under the MMWA, 15 U.S.C. § 2310(d).

D. COUNT FOUR - V|OLAT|ON OF NEW JERSEY
CONSUMER FRAUD ACT (“CFA”)

59. l\/|B Paramus committed an unlawful practice when it disclosed a lower
mileage to P|aintiff to induce P|aintiff to purchase the Vehicle, then declared a higher
mileage to the CT DMV for registering the same Vehicle.

60. |Vlisrepresentation of l\/lileage of Motor Vehicle is a violation of New Jersey

Criminal Law, M § 2C:21-8, and an unlawful practice under CFA, M_S_L §§

56:8.1, et seq.

61. Defendants’ forgery of the odometer disclosure statement submitted to CT
DMV is a violation of New Jersey Criminal Law, N.J.S.A. § 20:21-1(a)(3), and an

unlawful practice under CFA, N.J.S.A. §§ 56:8.1, et seq.

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62. P|aintiff sustained ascertainable losses by way of diminution of value of
the Vehicle.
63. MB Paramus is liable to P|aintiff for treble his ascertainable losses,

attorney’s fees, filing fees, and costs of suit.

64. Once l\/lB Paramus is found to have committed an unlawful practice by
affirmatively misrepresenting the mileage on the Vehicle sold to P|aintiff in violation of
CFA, whether or not P|aintiff proved any ascertainable loss, the court should award
P|aintiff attorney fees, filing fees, and costs. Cuesta v. Classic Wheels, |nc., 358 N.J.
Super. 512, 523 (App.Div. 2003).

65. As an alternative remedy, P|aintiff is entitled to an order rescinding the

transaction plus an award of attorney’s fees, filing costs, and costs of suit.

E. COUNT FlVE - COMMON LAW FRAUD

66. l\/lB Paramus committed a common law fraud when it disclosed a lower
mileage to P|aintiff to induce P|aintiff to agree to a higher purchase price that the

Vehicle was truly worth.

67. l\/lB Paramus knew or should have known that the mileage disclosed to
P|aintiff at the point of sale was lower than the mileage on the Vehicle P|aintiff was

negotiating to purchase

68. lVlB Paramus knew or should have known that the mileage disclosed to

P|aintiff to make him purchase the Vehicle was false.

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69. l\/lB Paramus misrepresented the true mileage of the Vehicle to P|aintiff
with the intention that P|aintiff will rely on the falsehood to accept the Vehicle at a higher
price than the Vehicle is worth.

70. Soon after P|aintiff purchased the Vehicle, lVlB Paramus declared a higher
mileage to the CT DMV for registering the same Vehicle and concealed this fact to
Plaintiff.

71. The mileage discrepancies reported by MB Paramus led to the Car being
reported by CarFax as true mileage unknown which caused diminution of value.

72. P|aintiff sustained ascertainable losses by way of diminution of value of

the Vehicle and overpayment for the Vehicle.
73. |VIB Paramus is liable to P|aintiff to for compensatory damages, common
law punitive damages, attorney fees, costs and such other legal and equitable relief that

the Court deems just.

F. COUNT SIX - STR|CT LlABlLlTY UNDER THE PRODUCT-LlNE
EXCEPT|ON TO SUCCESSOR LlABlLlTY RULE

74. Prestige Motors lnc. d/b/a Mercedes Benz of Paramus sold the Vehicle in
question to P|aintiff and misrepresented, altered and forged the odometer disclosure
statement to CT DMV in violation of the Odometer Act, CFA, and in breach of Express

and implied Warranties.

75. Lithia Motors lnc. d/b/a Mercedes Benz of Paramus succeeded the
interest of Prestige Motors lnc. and continued to sell the same product-line, Mercedes

Benz, as its predecessor Prestige.

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76. Lithia Motors lnc. d/b/a Mercedes Benz of Paramus is strictly liable for any

bad acts of its predecessor, Prestige, with respect to P|aintiff’s transaction with Prestige

77. Lithia Motors lnc. d/b/a Mercedes Benz of Paramus has continued to
benefit from the good will built up by Prestige and serving the same customers and

communities that Prestige served.

78. Lithia Motors lnc. d/b/a Mercedes Benz is liable to P|aintiff to the same

extent as Prestige

79. lt is established that recourse against a successor corporation is justified
as a burden necessarily attached to the successors enjoyment of the predecessors
trade name, good will and the continuation of an established enterprise. Lefever v. K.P.

Hovnanian Enters., 160 N.J. 307, 323 (1999).

80. Lithia is liable to P|aintiff to the same extent as Prestige for violation of
Odometer Act, Breach of Express and implied Warranties, Common Law Fraud,

Violation of CFA and any other liability theory currently pleaded or to be impleaded in

due course

81. Lithia is liable to P|aintiff to the same extent as Prestige for compensatory

damages, treble damages, punitive damages, attorney fees and costs.

11

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PRAYER FOR REL|EF

Wherefore, P|aintiff claims actual damages, statutory damages, punitive

damages, attorney’s fees, and costs of suit.

PLA|NT|FF, ALLAN FR|EDMAN

/s/ John C. Uyamadu
By.'

 

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